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                             NO. 24-2897

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT
                      ______________

 SHOSH YONAY, an individual, and YUVAL YONAY, an individual,,
                         Plaintiffs-Appellants,
                                   v.
PARAMOUNT PICTURES CORPORATION, A DELAWARE CORPORATION,
                         Defendant-Appellee.
                          ______________

        ON APPEAL FROM THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF CALIFORNIA
                THE HONORABLE PERCY ANDERSON
                    NO. 22-CV-03846-PA-GJS
                           ______________

       ANSWERING BRIEF OF DEFENDANT-APPELLEE
         PARAMOUNT PICTURES CORPORATION
                   ______________

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                CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1, Defendant-Appellee

Paramount Pictures Corporation states that it is a wholly owned subsidiary of

Paramount Global, f/k/a ViacomCBS Inc. (successor by merger to Viacom Inc.).

Paramount Global is a publicly traded company. National Amusements, Inc., a

privately held company, beneficially owns the majority of the Class A voting stock

of Paramount Global. Paramount Global is not aware, without further inquiry, of

any publicly held entity owning 10% or more of its total common stock, i.e., Class

A and Class B on a combined basis.




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                               I. INTRODUCTION

      This appeal raises the straightforward question whether writing a non-fiction

journalistic article endows its author with blocking rights to future creative works

on the same subject matter. The answer is no. Copyright law requires the

opposite: It “encourages others to build freely upon the ideas and information

conveyed by a work,” as part of its constitutional charge “[t]o promote the

Progress” of the “useful Arts.” Feist Publ’ns, Inc. v. Rural Tel. Serv. Co., 499 U.S.

340, 349-50 (1991); U.S. Const. art. I, § 8, cl. 8. Thus, as this Court recently

recognized, it is “a feature of copyright law, not a bug or anomaly, that an author

who deals in fact rather than fiction receives incomplete copyright protection for

the results of his labor.” Corbello v. Valli, 974 F.3d 965, 973 (9th Cir. 2020).

      The district court rightly rejected Appellants’ claim that Paramount Pictures

Corporation’s (“PPC”) 2022 film Top Gun: Maverick (“Maverick”) infringes their

copyright in the 1983 non-fiction article “Top Guns” (the “Article”), as the two

works have little in common beyond their shared subject of the U.S. Navy’s real-

life Top Gun academy. Then and now, Appellants rest their infringement claim on

a hodgepodge of supposed similarities, which are either imagined or unprotectable

facts and ideas. Upon reviewing the works and conducting a thorough extrinsic

analysis, the court saw through Appellants’ effort to obtain an effective monopoly

over stories about Top Gun and granted summary judgment to PPC for lack of



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substantial similarity. Along the way, the court properly excluded Appellants’

“expert” who failed every criterion of Rule 702, and dispensed with their breach of

contract claim over a credit provision whose plain language does not encompass

Maverick.

      This is a textbook case for tossing an infringement suit on summary

judgment. The district court’s ruling stands for no novel proposition about

copyright protection of nonfiction works. Rather, this case boils down to a

straightforward comparison of two vastly dissimilar works, and the axiomatic

principle that facts are not protected by copyright. This Court should affirm.

                       II. STATEMENT OF THE ISSUES

      1.     Whether the court rightly held that Ehud Yonay’s nonfiction Article

about the Navy’s real-life Top Gun academy was not substantially similar to PPC’s

action-drama film Maverick about a fictional instructor training Top Gun graduates

for a death-defying mission to destroy an enemy nuclear facility, where the only

overlap between the two works is their shared subject of Top Gun.

      2.     Whether the court correctly interpreted Yonay’s contract with PPC

according to its plain language and held that Yonay was not entitled to credit on

Maverick.

      3.     Whether the court appropriately exercised its discretion to exclude

Appellants’ proffered literary expert under Federal Rule of Evidence 702 where he



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failed to filter out unprotectable elements, subjectively compared the works, and

otherwise provided an unhelpful and unreliable analysis.

      4.     Whether the court appropriately exercised its discretion to admit

PPC’s naval aviation expert, a former Top Gun graduate and instructor who used

his specialized knowledge and experience to opine on the factual accuracy of the

Article and the purported similarities between it and Maverick.

                       III.   STATEMENT OF THE CASE

A.    Factual Background.

      1.     The Works at Issue.

      The Article. Investigative reporter Ehud Yonay contracted to write an

article for California Magazine and to “use all reasonable care in reporting and

writing the article to make sure that it is factual and accurate.” 4-SER-1108–10.

California Magazine, which specialized in “long-form non-fiction,” published that

article, Top Guns, in 1983. 3-ER-372–85; 3-ER-521–22.

      The Article centers on the real-life Navy Fighter Weapons School, aka “Top

Gun,” whose “mission” is to prepare the best young fighter pilots for combat. 3-

ER-376–78, 4-SER-891–92. The Article reports: “Top Gun’s hotshot aces have

virtually revolutionized the fighter pilot business and . . . established themselves as

the international masters of the deadly art of air-to-air combat.” 3-ER-378. The

Article credits the school’s success to its training program, which works to



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“hammer[]” two-person F-14 crews into a team. 3-ER-376–78; 3-ER-384.

Invoking “navy jargon,” such as “hops” (air combat maneuvers), “dogfighting”

(air-to-air combat), and “bogeys” (enemy planes), the Article outlines that

program. 3-ER-375–85. For example, it explains, on top of tactical “lectures and

briefings,” aerial exercises include “one-versus-one hops (one student crew against

one instructor), then two-versus-two hops, and then . . . the tough two-versus-

unknown hop.” 3-ER-384.

      The Article describes the F-14 Tomcat (among other planes), which at the

time was the Navy’s “supreme air war machine” flown by Top Gun trainees. 3-

ER-380. It details the F-14’s features, including its flexible wings, haul capacity,

and shooting capabilities. 3-ER-380. And the pitfalls too, such as the plane’s size,

cost, and “stall-prone” engine. 3-ER-380.

      The Article reports on two real-life lieutenants, Alex “Yogi” Hnarakis and

Dave “Possum” Cully—a pilot and radar intercept officer (“RIO”)—who train

together as a fighter crew. 3-ER-375–85. It documents the process by which they

become a team, including a simulated training exercise in which they “escorted”

attack planes “over ‘enemy’ land on a bombing mission.” 3-ER-375–85.

      Yonay recounts his own flight in an F-5, documenting the experience of

“pulling Gs” and “withstanding several times the force of the earth’s gravitational

pull.” 3-ER-383. Experiencing “classic air moves,” including “flying upside



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down,” Yonay notes feeling “sheer nirvana” and “physical torture” from “pressure

on your chest . . . so intense that you can hardly breathe.” Id.

      The Article has a non-linear structure, switching between Yogi and

Possum’s personal experiences and the history of Top Gun. 3-ER-375–85. It

begins with the details of a training exercise in which Yogi and Possum are

defeated by a mock bogey, 3-ER-375–77, before transitioning to a description of

Naval Air Station (“NAS”) Miramar and explaining the role for which Yogi and

Possum are training, 3-ER-377–79. It next provides the two trainees’ biographical

details, including their hometowns, education, and prior Navy experience. 3-ER-

379–80. The Article then shifts to a description of their plane and how pilots learn

to fly, including the use of flight simulators and training for night landings. 3-ER-

380–81. It recalls how prior to arriving at Top Gun, Yogi and Possum—along

with their squadron—went on a six-month tour aboard an aircraft carrier. 3-ER-

382. Jumping further back in time, the Article covers the history of Top Gun from

its 1968 genesis. 3-ER-383–84. Returning to 1983, the Article describes Yogi and

Possum’s final “hop” and concludes with their Top Gun graduation. 3-ER-384–85.

      Top Gun: Maverick. Maverick is the 2022 sequel to the 1986 film Top Gun.

Set more than 30 years after Top Gun, Maverick features Pete “Maverick”

Mitchell, Top Gun’s fictional protagonist, who is now a Captain and test pilot

working on the Navy’s hypersonic scramjet program (not located at Top Gun).



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TGM 3:06-14:30. After learning Vice Admiral Chester “Hammer” Cain plans to

shut down the program to fund drone technology, Maverick takes one last flight in

an attempt to meet the program’s goal of reaching Mach 10. TGM 5:11-5:48,

7:55-8:48. He succeeds, but pushes the prototype beyond its limits, destroying it.

TGM 12:28-12:45.

      Maverick’s career has stalled due to similar insubordinate acts, and Admiral

Cain wants to ground him, but Maverick’s friend and former rival, Tom “Iceman”

Kazansky, now an Admiral and the Pacific Fleet Commander, sends him to Top

Gun at NAS North Island. TGM 15:14-16:02. Once Maverick arrives, he reunites

with Penny Benjamin—a single mother who owns the air base’s bar—with whom

Maverick formerly had an on-again-off-again relationship. TGM 22:09-22:43.

      The Navy tasks Maverick with training an elite group of Top Gun graduates

for a mission to destroy an unsanctioned uranium plant located at the bottom of a

canyon in enemy territory. TGM 18:01-18:44, 19:46-19:57. To account for the

surface-to-air missiles (“SAMs”) and fifth-generation fighters defending the plant,

Maverick devises an attack strategy with fast-paced, low-altitude flying, but air

boss Vice Admiral Beau “Cyclone” Simpson and the graduates are skeptical that

approach is viable. TGM 18:44-19:57, 48:35-50:10.

      Among the graduates is Bradley “Rooster” Bradshaw, the son of Maverick’s

late best friend, “Goose,” who died in a training accident with Maverick piloting.



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TGM 19:57-20:37. Maverick reveals he pulled Rooster’s first Naval Academy

application because of a promise Maverick made to Rooster’s late mother. TGM

1:04:53-1:06:18. Rooster resents Maverick for impeding his career and blames

Maverick for Goose’s death. TGM 56:05-56:28, 1:04:50-1:06:00, 1:15:07-

1:15:36.

      Rooster also clashes with fellow graduate Jake “Hangman” Seresin over

their contrasting styles: Rooster calls Hangman reckless, and Hangman criticizes

Rooster as too cautious. TGM 27:50-28:35, 52:33-53:03. Other trainees include

pilots Natasha “Phoenix” Trace and Reuben “Payback” Fitch, and weapons

officers Robert “Bob” Floyd and Mickey “Fanboy” Garcia. TGM 24:50-26:10.

Maverick works to earn the graduates’ respect and instills teamwork and

camaraderie through unconventional training. TGM 34:12-35:02, 1:01:22-1:02:24.

He also rekindles his romance with Penny. TGM 45:54-48:20, 1:02:55-1:04:45.

      As the mission date approaches, none of the trainees is able to complete the

course simulation within Maverick’s parameters. TGM 50:25-52:30. Maverick

fears sending Rooster on a mission that might result in Rooster’s death. But a

meeting with Iceman—who has cancer—convinces Maverick to release his anxiety

and let go of past guilt. TGM 57:00-59:05.

      Iceman dies, and Cyclone removes Maverick as instructor. TGM 1:15:47-

1:17:36. Cyclone announces more dangerous mission parameters, but Maverick



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takes an unauthorized run of the course and completes it, stunning everyone. TGM

1:19:16-1:22:27. Cyclone reluctantly appoints Maverick team leader, and

Maverick decides the mission will be carried out by two strike teams—one led by

him and the other by Rooster. TGM 1:26:07-1:26:35.

      The strike teams destroy the enemy target, but on the way out of the canyon,

they are confronted by SAMs. TGM 1:36:55-1:40:15. Maverick sacrifices his

plane to protect Rooster and gets shot down. TGM 1:39:55-1:40:15. Cyclone

orders the remaining fighters back to the aircraft carrier, but Rooster ignores him

and returns for Maverick. TGM 1:40:55-1:42:52. On the ground, Maverick is

about to be attacked by an enemy helicopter when Rooster arrives and shoots it

down. TGM 1:41:35-1:42:52. Rooster is hit by a SAM and ejects. TGM 1:42:52-

1:43:03. Stranded, Maverick and Rooster steal an F-14 from a nearby base, but are

intercepted by enemy fighters. TGM 1:45:40-1:50:55. Maverick takes out two

enemy planes, but then runs out of ammunition. TGM 1:50:55-1:54:15.

      Resigned to their fate, Maverick apologizes for failing to keep Rooster safe.

TGM 1:55:24-1:55:32. Just then, Hangman, who had been on standby for the

mission, shoots down the enemy fighter, all three return to the carrier in triumph,

and Maverick and Rooster emotionally reconcile. TGM 1:55:33-1:59:20. The film

ends with Rooster reflecting on his renewed relationship with Maverick, his father

figure, while Maverick and Penny fly off into the sunset. TGM 2:00:10-2:01:35.



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      2.     The Assignment and Termination.

      On May 18, 1983, Yonay assigned motion picture rights in the Article to

PPC (the “Assignment”). 3-ER-391–401. As contemporaneous records

demonstrate, PPC viewed the Assignment as gratuitous—it “d[id]n’t need this

article to do our movie as all the facts are public domain”—but pursued the rights

for “p[ea]ce of mind.” 4-SER-1025. The Assignment has a limited credit

provision and confirms that it does not derogate any rights that PPC enjoys as a

member of the public. 3-ER-396–97.

      Appellants terminated the Assignment’s grant of copyright effective January

24, 2020. 2-ER-219–21.

B.    Procedural History.

      The operative complaint asserts claims for copyright infringement,

declaratory judgment, and breach of contract. 3-ER-517–33. PPC moved to

dismiss, but the court denied the motion, citing this Court’s precedents disfavoring

dismissals at the pleading stage on substantial similarity. 3-ER-402–08.

Discovery followed, confirming the Article was factual (and contained no fictional

elements), 1-SER-3–64, 4-SER-883–940, and demonstrating the lengths PPC went

to ensure Maverick portrayed Top Gun realistically, all in consultation with the

U.S. Navy, 1-SER-66–77, 3-SER-823–46, 4-SER-848–79, 4-SER-1013–44.




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      Appellants and PPC moved for summary judgment and to exclude the other

side’s experts. 3-ER-563–66. The court granted PPC’s summary judgment motion

and denied Appellants’ summary judgment motion; granted PPC’s motion to

exclude Appellants’ proffered literary expert; denied Appellants’ motion to

exclude PPC’s naval aviation expert; and deemed moot Appellants’ motion to

exclude PPC’s literary expert, on whom it did not rely. 1-ER-3–16.

                        IV.    STANDARD OF REVIEW

      A grant of summary judgment is reviewed de novo. Folkens v. Wyland

Worldwide, LLC, 882 F.3d 768, 773 (9th Cir. 2018). The decision whether to

exclude expert testimony is reviewed for abuse of discretion, meaning the

reviewing court “cannot reverse unless [it] ha[s] a definite and firm conviction that

the district court committed a clear error of judgment.” United States v.

Benavidez-Benavidez, 217 F.3d 720, 723 (9th Cir. 2000).

                        V. SUMMARY OF ARGUMENT

      Yonay wrote a nonfiction Article about the Navy’s real-life Top Gun

academy. PPC wrote a completely different, fictional story and made that story

into Maverick, which shares with the Article its basic subject of Top Gun and

nothing more. Because Top Gun is a real school, naval aviation is a real field, and

Maverick’s producers tried to make the film realistic (with the guidance of Navy

consultants), the Article and Maverick necessarily share some elements. But those



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elements are factual and not Yonay’s protected expression. Maverick did not

infringe on the Article’s copyright, and the court correctly dispensed with this suit

on summary judgment.

      Reviewing the works themselves makes that outcome crystal clear, so

Appellants try to create a smokescreen. They conflate the copyrightability of the

Article—which was never in dispute—with the protectability of the elements that

PPC allegedly borrowed from it. They distract from the real issues with a

misleading account of the parties’ licensing history and an irrelevant meditation on

copyright termination. And they attack the court for conducting its own extrinsic

analysis of the works—the actual yardstick for Appellants’ infringement claim—

when they failed to proffer a reliable expert. All the while, Appellants argue their

subjective characterizations of the works under the guise of the extrinsic test,

trying to conjure up similarities by using the same adjectives to describe both

works, misstating what happens in them, and relying on their own ipse dixit rather

than objective record evidence. When the smoke lifts, the inescapable conclusion

is that the works are not substantially similar as a matter of law.

      Appellants’ contract claim is equally groundless, and the court rightly

granted summary judgment there too. Because Maverick falls outside the scope of

the credit provision’s plain language, Appellants advocate for an atextual

interpretation that writes out limiting language. But the contract means what it



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says, and Appellants have no factual or legal support for their contrary contention.

      Finally, the court did not abuse its discretion in excluding Appellants’

literary expert Henry Bean or including PPC’s naval aviation expert Andrew Craig.

Bean fell short on every dimension of Rule 702, and Appellants cannot blame the

court for their own failure or demand it abdicate its gatekeeping responsibilities.

Nor can they complain about Craig’s admission, as his expertise served only to

buttress the court’s findings about the factual matter that must be filtered out of the

extrinsic analysis—a result compelled by the asserted truths doctrine regardless (on

top of Appellants’ failure to identify a single fictional element in the Article).

Appellants identify no reversible error in the decision below, and this Court should

affirm.

                                VI.    ARGUMENT

A.    The Court Rightly Granted Summary Judgment to PPC.

      1.     Appellants’ Argument Rests on a Series of False Premises.

      To prevail, Appellants must show there is a genuine dispute of material fact

that the Article and Maverick are substantially similar in their protected

expression. Tellingly (and improperly) Appellants do not even include a summary

of the Article or Maverick. Instead, they distract from the analysis at hand with a

series of strawmen.




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             a.     False Premise #1: Licensing History and the Copyright
                    Termination Context Impact the Infringement Analysis.

      Appellants argue that the parties’ licensing history and the spirit of copyright

termination somehow inform the substantial similarity analysis. Br. 3-4, 13, 64-66.

Neither does.

      Licensing history does not bear on whether works are substantially similar;

that one author once obtained a license from another does not, for example, render

the dialogue in their works any more similar or align their themes. Accord

Burroughs v. Metro-Goldwyn-Mayer, Inc., 683 F.2d 610, 623-28 (2d Cir. 1982)

(copyright claim failed for lack of substantial similarity notwithstanding

defendant’s previous purchase of (since-terminated) license from plaintiffs). The

substantial similarity test remains the same—it hinges on an analysis of the works

themselves rather than the parties’ historical relationship.

      Appellants also get the history wrong. PPC always viewed the Assignment

as gratuitous; PPC “d[id]n’t need this article to do our movie as all the facts are

public domain,” but nonetheless purchased the rights (for just $20,000) for

“p[ea]ce of mind,” i.e., to avoid being mired in frivolous litigation. 4-SER-1025.

When PPC purchased the rights in 1983—less than a month after publication, 3-

ER-521–22; 3-ER-391—PPC also did not know how its then-hypothetical film

would take shape. The Assignment gave PPC freedom to borrow what it wanted

from the Article, but did not obligate PPC to use any of its protected expression. A


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studio’s precautionary step of acquiring adjacent rights is common practice and

common sense, not the basis for an adverse inference.1

      Appellants’ long-winded discussion of the purported purpose behind

copyright termination is equally misguided. While Appellants bemoan that the

court “disregarded . . . the remedial purpose of the [Copyright] Act’s termination

provisions,” Br. 64, even Appellants do not advocate for a different substantial

similarity test when an infringement claim intersects with copyright termination.

Put simply, the copyright termination statute has no bearing on whether one work

is substantially similar to another.

             b.     False Premise #2: The Court’s Extrinsic Analysis Traded
                    the Fact/Expression Dichotomy for a “Fact/Fiction
                    Dichotomy.”

      Appellants falsely accuse PPC and the court of rebuffing the fact/expression

dichotomy in favor of a “fact/fiction dichotomy.” Br. 10-13. First, PPC and the

court both heeded the fact/expression dichotomy—though that doctrine does not

aid Appellants’ case but rather “limits severely the scope of protection in fact-

based works” like the Article. Feist, 499 U.S. at 350. Second, to the extent PPC

and the court concerned themselves with fact versus fiction, they did so only

because Appellants refused to submit to application of the asserted truths doctrine,



1
 Relatedly, although Appellants claim PPC “renounced” the Article’s copyright,
Br. 13, the parties actually dispute only the scope of that copyright.


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2-ER-62, and repeatedly claimed factual elements as the basis for their

infringement claim.

      The fact/expression dichotomy instructs how to understand the copyright in

factual works like the Article, given that “[n]o author may copyright his ideas or

the facts he narrates.” Harper & Row Publishers, Inc. v. Nation Enters., 471 U.S.

539, 556 (1985). A factual work can be copyrighted, but “[t]he copyright is

limited to those aspects of the work—termed ‘expression’—that display the stamp

of the author’s originality.” Id. at 547. This Court’s recent decision in Corbello

exemplifies this principle. In Corbello, this Court held that the creators of a play

about the musical quartet the Four Seasons did not infringe one band member’s

nonfiction autobiography, “even if the writers of the Play ‘appropriated [plaintiff’s]

historical research.’” 974 F.3d at 984; see also id. at 973 (“an author who deals in

fact rather than fiction receives incomplete copyright protection”). As here, the

proffered similarities between the works distilled to unprotectable facts (or asserted

truths, which are treated as facts), so the works failed the substantial similarity test

as a matter of law. Id. at 975-84.

      Ironically, it is Appellants who misapply the fact/expression dichotomy.

Appellants repeatedly conflate the copyrightability of the Article—which was

never in dispute—with the protectability of the elements that PPC allegedly

borrowed from it. And they suggest that, because the Article used original



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expression to convey facts, that expression endows Appellants with the rights to

those underlying facts too. E.g., Br. 11-12. It does not. No matter how “colorful”

the Article’s descriptions may be, Br. 11, the underlying facts are just that—facts

belonging to the public, not to Appellants. And to any extent facts or ideas are

inextricably intertwined with expression, they are all unprotected, not the other

way around. Rice v. Fox Broad. Co., 330 F.3d 1170, 1174-75 (9th Cir. 2003),

overruled on other grounds by Skidmore v. Zeppelin, 952 F.3d 1051 (9th Cir.

2020) (en banc); Sega Enters. Ltd. v. Accolade, Inc., 977 F.2d 1510, 1524 (9th Cir.

1992).

      Appellants’ own authorities make this clear. As the Supreme Court

explained in Feist (misleadingly excerpted by Appellants, Br. 11): When an

“author clothes facts with an original collocation of words, he or she may be able

to claim a copyright in this written expression. Others may copy the underlying

facts from the publication, but not the precise words used to present them.” 499

U.S. at 348 (emphasis added). Thus, while the Article’s prose is protected,

copyright law not only tolerates but “encourages” other creators “to build freely

upon the ideas and information conveyed” by it. Id. at 350.

      It is thus unclear what Appellants hope to gain by pointing out, for example,

that the Article described pilots’ “‘shit-hot’ machismo,” Yogi and Possum’s

“‘security blanket’ bond,” and “their place in ‘Camelot’ at ‘King Arthur’s Round



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Table [with] the gathering of the greatest of the greats in fighter aviation.’” Br. 11.

These descriptors may be original, but the underlying attributes are not. See

Corbello, 974 F.3d at 976 (personality traits of real people, as depicted in narrative

work, are “not original to the [w]ork, and so not a protectable element”). And

these descriptors are not in Maverick. Thus, the court did not hold unprotectable

“any expression in Yonay’s Story containing a kernel of fact,” Br. 11; it correctly

recognized the protected expression was not copied, and the overlapping facts

themselves were not protected.

      Nor did the court impose a “fact/fiction dichotomy,” as Appellants’ claim.

Br. 10. Underscoring the absurdity of this argument, the court’s order used the

terms “fiction,” “fictional,” or “non-fiction” just three times collectively—and only

then to describe (correctly) the nature of the works themselves. 1-ER-3; 1-ER-11.

Moreover, to the extent the court paid heed to the factual accuracy of the Article,

that served only to bolster its determination that such facts were appropriate for

filtration in the extrinsic analysis. Corbello, 974 F.3d at 975 (court must “filter

out” from extrinsic analysis “non-protectable elements” including facts). Below,

Appellants protested that the asserted truths doctrine—whereby “elements of a

work presented as fact are treated as fact, even if the party claiming infringement

contends that the elements are actually fictional,” Corbello, 974 F.3d at 978—

should not apply to the Article. 2-ER-62. The court did not accept Appellants’



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argument, 1-ER-12, but to insulate its decision, it also confirmed against the record

evidence that the overlapping elements between the Article and Maverick were

factual. This act of hyper-caution only could have worked in Appellants’ favor.

             c.     False Premise #3: The Court “Broadly Disregard[ed]”
                    Similarities as Scènes-à-Faire.

      Appellants falsely claim “[t]he court repeatedly ruled that the [Article’s]

elements were unprotected scènes à faire.” Br. 16. The court applied scènes-à-

faire only twice in its decision, once noting that “fighter pilots landing on an

aircraft carrier, being shot down while flying, and carousing at a bar” are

“unprotected facts, familiar stock scenes, or scènes à faire,” and once stating that

“settings[] such as a jet’s cockpit, the sky, a classroom, an aircraft carrier, and a bar

or ‘officer’s club’ are unprotectable scènes à faire.” 1-ER-12–13. Thus, the

“scènes-à-faire” in question were not literary contrivances, but rather factual

features of naval aviation and/or Top Gun and, at minimum, unprotectable for that

additional reason—mooting this whole argument. The court itself catalogued

various overlapping reasons for finding Appellants’ proffered similarities

unprotectable (general ideas, facts, stock scenes, and scènes-à-faire).

      For this same reason, Appellants’ argument that the court required “expert

guidance” to assess “the stock elements of naval literature in 1983,” Br. 16, misses

the mark. Regardless whether “aerial action scenes” were common in movies in

1983—and they were, 4-SER-991–92—no expert testimony is necessary to


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understand that air-to-air combat involves “aerial action scenes.” Br. 17.

Likewise, unlike Swirsky’s niche analysis whether similarities in musical

“motives” could “be explained by the common-place presence of the same or

similar ‘motives’ within the relevant field,” Swirsky v. Carey, 376 F.3d 841, 850

(9th Cir. 2004), the Article’s “scènes-à-faire” could be ascertained with common

sense alone—for example, that scenes in a cockpit, in the sky, and in the classroom

“flow necessarily or naturally from [the] basic plot premise” of the fighter pilots

who teach and train at Top Gun, Corbello, 974 F.3d at 975.

             d.    False Premise #4: Courts Must Consider Expert Testimony
                   in Conducting a Substantial Similarity Analysis,
                   Irrespective of Rule 702.

      Appellants’ next troubling argument is that the court was required to

consider literary expert evidence to rule on substantial similarity, even though they

failed to proffer an expert whose testimony satisfied Federal Rule of Evidence 702.

Br. 13-15. It was Appellants’ responsibility to proffer an admissible expert. They

did not. Rule 702 does not fall to the wayside when a court must evaluate

substantial similarity. Indeed, Appellants recognized as much when they moved to

exclude PPC’s literary expert. 3-ER-564.

      Bean’s exclusion was not just permissible but required. Rule 702 was

amended just last year to reinforce the judicial gatekeeping role, in response to too

many courts incorrectly holding that “the critical questions of the sufficiency of an



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expert’s basis, and the application of the expert’s methodology, are questions of

weight and not admissibility.” Fed. R. Evid. 702 advisory committee’s note to

2023 amendment. Rule 702 is irreconcilable with Appellants’ exhortation that a

court may not conduct its extrinsic analysis without expert guidance. Indeed,

acceptance of Appellants’ “no-extrinsic-test-without-expert-evidence rule” would

enable an infringement plaintiff to strategically avoid summary judgment and

proceed to trial simply by proffering an inadmissible expert—or worse yet, none at

all.2

        Appellants’ authorities stand for the unremarkable proposition that expert

testimony can be helpful for evaluating substantial similarity, not that it is

essential. A panel of this Court recently addressed this argument head-on,

expressly holding that “determining substantial similarity does not necessarily

require expert testimony.” Masterson v. Walt Disney Co., 821 F. App’x 779, 781

(9th Cir. 2020); see also, e.g., Rice, 330 F.3d at 1180 (holding that court “clearly”

did not abuse discretion in disregarding both parties’ experts “in light of its

gatekeeping role” and affirming summary judgment for defendants on substantial



2
  Nor can Appellants protest that infringement defendants should proffer their own
experts to avoid that result. On summary judgment, “[w]here the non-moving
party bears the burden of proof at trial, the moving party need only prove that there
is an absence of evidence to support the non-moving party’s case.” In re Oracle
Corp. Sec. Litig., 627 F.3d 376, 387 (9th Cir. 2010).


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similarity). Indeed, this Court has affirmed dismissals on substantial similarity

grounds even before discovery “repeatedly over the last decade.” Masterson, 821

F. App’x at 780 & n.1 (collecting cases). Of course, if a court can properly rule on

substantial similarity on a motion to dismiss, then expert testimony is definitionally

not required across the board.

      The idea that expert testimony is always necessary is especially strained

where, as here, the works in question are regularly consumed by and broadly

understandable to the general public, such as popular movies or magazine articles.3

See Gable v. Nat’l Broad. Co., 727 F. Supp. 2d 815, 836 & n.18 (C.D. Cal. 2010),

aff’d, 438 F. App’x 587 (9th Cir. 2011); Bernal v. Paradigm Talent & Literary

Agency, 788 F. Supp. 2d 1043, 1062 (C.D. Cal. 2010). This case does not require

the dissection of a computer program or analysis of the chord progressions of a

symphony, where experts could illuminate technical aspects of the works beyond

the ken of the typical jurist. Appellants misleadingly claim “[t]his Court’s

consistent precedent recognizes that judges and lawyers are often unqualified

and/or ill-equipped to conduct the multifaceted literary analysis copyright




3
  Other circuits have called into question whether expert testimony should even be
allowed in cases that “involve[] a literary work aimed at a general audience” rather
than “complex or technical” subject matter “such as a computer program or
functional object.” E.g., Stromback v. New Line Cinema, 384 F.3d 283, 295 (6th
Cir. 2004).


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infringement cases frequently require” and cite Hanagami v. Epic Games, Inc., 85

F.4th 931, 945 (9th Cir. 2023), in support. Br. 14 (emphasis added). But

Hanagami says no such thing. Moreover, Hanagami concerned the mechanics of

choreography, a niche art form far less familiar to courts than a popular movie or

magazine article. This case, in contrast, requires no special expertise.

       Appellants next try to use the court’s motion to dismiss order against it,

essentially arguing that, after the court denied PPC’s motion to dismiss, it was

bound to deny PPC’s summary judgment motion too. Br. 15. But just because the

court gave Appellants the opportunity to leverage expert testimony does not mean

expert evidence was required for the court to rule on the merits. The court

exercised caution in allowing this case to proceed to summary judgment—based

largely on this Court’s precedents disfavoring infringement dismissals on the

pleadings—and that caution cannot now be weaponized against the court. Any

contrary rule would mean winning a motion to dismiss automatically entitles a

plaintiff to a jury trial. That is not the law.

       2.     Maverick Did Not Infringe the Copyright in the Article.

              a.     On Summary Judgment, the Only Question Is Whether
                     Appellants Can Satisfy the Objective Extrinsic Test for
                     Substantial Similarity.

       A copyright plaintiff must prove substantial similarity between “protected

elements” of his work and the allegedly infringing work. Rentmeester v. Nike,



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Inc., 883 F.3d 1111, 1117 (9th Cir. 2018), overruled on other grounds by

Skidmore, 952 F.3d 1051. Even if a plaintiff can establish that the defendant

actually copied his work, that does not establish liability because the Copyright Act

does not prohibit all copying, but only “unlawful appropriation”—that is, where

the defendant copied enough “expression” “to render the two works ‘substantially

similar’” in their “protected elements.” Id.

      “[D]etermining whether works are substantially similar involves a two-part

analysis consisting of the ‘extrinsic test’ and the ‘intrinsic test.’” Rentmeester, 883

F.3d at 1118. The extrinsic test “assesses the objective similarities of the two

works, focusing only on the protectable elements of the plaintiff’s expression,” id.

(emphasis added), whereas the intrinsic test “examines an ordinary person’s

subjective impressions,” Funky Films, Inc. v. Time Warner Ent. Co., 462 F.3d

1072, 1077 (9th Cir. 2006) (emphasis added), overruled on other grounds by

Skidmore, 952 F.3d 1051. On summary judgment, only the extrinsic test is

relevant; if the works fail that test, the court must enter judgment for the defendant.

Kouf v. Walt Disney Pictures & Television, 16 F.3d 1042, 1045 (9th Cir. 1994).

      The extrinsic test’s objective analysis “focuses on articulable similarities

between the plot, themes, dialogue, mood, setting, pace, characters, and sequence

of events” in the two works. Id. Courts applying the extrinsic test “must take care

to inquire only whether the protectible elements, standing alone, are substantially



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similar,” and therefore must “filter out and disregard the non-protectible elements.”

Cavalier v. Random House, Inc., 297 F.3d 815, 822 (9th Cir. 2002) (cleaned up).

      Chief among these unprotected elements are facts, which inherently are not

original to an author. Corbello, 974 F.3d at 973. Copyright “in historical accounts

is narrow indeed, embracing no more than the author’s original expression of

particular facts,” Narell v. Freeman, 872 F. 2d 907, 911 (9th Cir. 1989), and it is “a

feature of copyright law, not a bug or anomaly, that an author who deals in fact

rather than fiction receives incomplete copyright protection for the results of his

labor,” Corbello, 974 F.3d at 973.

      Copyright protection does not extend to facts even where the idea at issue is

an “interpretation” of a historical event. Corbello v. Devito, 2015 WL 5768531, at

*12 (D. Nev. Sept. 30, 2015). After all, “every relation of a historical fact beyond

direct observation is tainted to some degree by some person’s interpretation, so

distinguishing between historical facts and ‘interpretations’ of those facts . . .

would destroy the rule that historical facts are unprotected.” Id.; see also Corbello,

974 F.3d at 976 (depiction of non-fiction character’s “cool” personality not

protectable). Thus, “[h]istorical facts and theories may be copied, as long as the

defendant does not ‘bodily appropriate’ the expression of the plaintiff.” Narell,

872 F.2d at 910-11.




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             b.     The District Court Rightly Found That Appellants Cannot
                    Satisfy the Extrinsic Test for Substantial Similarity.

      A comparison of the works confirms Appellants cannot satisfy the extrinsic

test.4 Bereft of evidence, Appellants fill their brief with subjective and frequently

false characterizations of the works. They conjure false similarities—easily

rebutted by review of the works—in an effort to make two vastly different works

seem alike. But no amount of attorney argument can substitute for what the

evidence plainly shows, and what the court correctly held: As a matter of law, the

Article and Maverick are not substantially similar. Indeed, this Court routinely

affirms summary judgment on substantial similarity for infringement defendants

even with far more similar fictional works. E.g., Benay v. Warner Bros. Ent., 607

F.3d 620, 625 (9th Cir. 2010), overruled on other grounds by Skidmore, 952 F.3d

1051; Funky Films, 462 F.3d at 1075-78.

                    i. PLOT, SEQUENCE OF EVENTS, AND PACING.

      As explained above, see supra Section III.A.1., the plots, sequence, and


4
  While reference to the works themselves lays bare that Maverick does not
infringe the Article, on this Court’s de novo review, it can also consider the expert
opinions of PPC’s literary expert James McDonald (4-SER-944–1011), whose
opinions the court did not hold inadmissible. Exclusion of one side’s affirmative
expert does not require exclusion of the other’s rebuttal expert, because “[t]here is
still a theory to rebut, even if an affirmative expert will not testify in support of that
theory.” Shoraka v. Bank of Am., N.A., 2024 WL 3468756, at *2 (C.D. Cal. Jan.
18, 2024) (citation omitted); Shay v. County of Los Angeles, 2019 WL 5420262, at
*5-6 (C.D. Cal. Oct. 21, 2019) (same). Indeed, Appellants argue the court should
have considered both sides’ experts. Br. 13, 15.


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pacing of the two works are fundamentally dissimilar. The Article is a non-fiction

piece about the U.S. Navy Fighter Weapons School. 3-ER-375–85. Structured in

non-linear fashion, the Article bounces back and forth between two young pilots’

then-current training at the school, the history of the school, an overview of fighter

jets, and a first-hand account of what it is like to experience G-force. 3-ER-375–

85; 1-SER-81–100. Maverick, by contrast, is a narrative fictional tale, with

consistent pace and linear sequence, about a veteran fighter pilot, Maverick, who

returns to Top Gun to train a new generation of pilots—including Rooster, who

blames Maverick for the death of Rooster’s father—for an attack on an enemy

installation. TGM 3:06-1:59:22; 1-SER-100–02, 1-SER-113–15. None of the

graduates can complete the mission’s training course. TGM 48:30-53:07, 1:07:54-

1:14:05, 1:17:10-1:17:19. Maverick takes an unauthorized flight through the

course, proving it can be done, and is then appointed team leader. TGM 1:19:21-

1:23:32. Maverick leads a successful mission, then sacrifices his jet to protect

Rooster, who in turn saves Maverick. TGM 1:25:45-1:42:52. The two steal a

plane from an enemy base, survive an aerial chase, and are saved by Hangman.

TGM 1:45:40-1:56:11. The court rightly found no substantial similarity in these

elements, explaining that the Article and Maverick were “largely dissimilar” in

these respects and “any similarities are based on unprotected elements.” 1-ER-10.

      Any similarity between the works’ “plots” stems from the fact that both are



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set (in part) at Top Gun—a real naval academy neither invented by Yonay nor

owned by Appellants. This Court must dispense with similarities grounded in “the

assertedly historical elements” in the Article, which are not protected by copyright

law (and comprise virtually all of the Article’s “plot”). Corbello, 974 F.3d at 976.

Appellants contest this binding authority with an out-of-circuit case they claim

held plot “based on real people and places” qualifies for copyright protection. Br.

41 (citing Jacobsen v. Desert Book Co., 287 F.3d 936, 945-47 (10th Cir. 2002)).

Jacobsen says nothing of the sort. In reality, it held that an author’s “verbatim

copying” of a memoir supported an infringement claim. 287 F.3d at 947-48.

      Appellants do not and cannot identify specific, articulable similarities

between the works’ actual narratives or storylines, as required. They resort to

generalities that are, at best, unprotectable “general plot ideas,” Funky Films, 462

F.3d at 1081, like “journey[ing] through what it takes to be the best of the best in

fighter aviation”; “following the demanding, intense lives of fighter pilots”;

“focus[ing] on a small, elite group of pilots who are bound together by their shared

experiences and sacrifices in a high-stakes environment,” and showing pilots’

“challenges,” “growth,” and “preparation for real combat” during training.5 Br.




5
  It is unclear what Appellants refer to when they say both works show pilots’
“‘shit-hot’ bravado” through training. Br. 43. Characters’ bravado is not plot, nor
is it protectable (and the “shit-hot” descriptor is not shared).


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41-43. Others are not only vague, but also not plot at all, like “foreground[ing] the

humanity of pilots”6 or portraying pilots “as exceptional individuals.” Br. 41-42.

And Appellants insert comparisons to the 1986 Top Gun film, e.g., Br. 42, but that

film is not owned by them and irrelevant to the infringement analysis. The rest are

“random similarities scattered throughout the works,” which cannot give rise to an

infringement claim, Litchfield v. Spielberg, 736 F.2d 1352, 1356 (9th Cir. 1984),

and in any event are strained or altogether false (not to mention unprotectable), as

shown in the following chart.

            Purported Similarity                           Response
    Both works’ “plots [are] led by a       Unprotectable general plot idea.
    driven loner (Yogi; Maverick).” Br.     Not accurate—Yogi is not a loner
    42.                                     (none of Appellants’ cited evidence
                                            suggests as much) and to the contrary
                                            is a team player whose close
                                            relationship with his RIO is profiled in
                                            the Article. 3-ER-377, 3-ER-381–82,
                                            3-ER-384–85. To the extent Maverick
                                            begins as a loner (a dubious assertion,
                                            as he has strong relationships with his
                                            scramjet team, TGM 5:04-11:47), he
                                            grows into strong personal
                                            relationships with Penny, Rooster, and
                                            others by the end of the film, TGM
                                            1:57:37-1:59:20, 2:00:13-2:01:27.


6
  Appellants assert both works do this to “explore the complexity of human beings
sent off to war and to invest the audience in the narrative,” Br. 41, but that is
inaccurate (Yogi and Possum are sent on a cruise, not into war, 3-ER-385) and
irrelevant (the extrinsic test examines specific, objective plot points, not
speculation about an author’s motives).

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“The Story highlights that only the      Unprotectable fact.
cream of the crop get invited back as    Not “highlight[ed]”; a single sentence
instructors, and in the Sequel,          in the Article states: “If they play it
Maverick gets invited back as an         right and look sharp, they might even
instructor.” Id.                         get invited back as Top Gun instructors
                                         -- which is as high as a fighter pilot can
                                         get.” 3-ER-377.
                                         Not similar; Maverick is ordered back
                                         to Top Gun against his will after an act
                                         of insubordination, in lieu of being
                                         grounded. TGM 5:15-17:49.

Both works share a “‘bullseye’           Not plot.
metaphor and for the same literary       Not accurate. Maverick does not use a
purpose.” Id.                            bullseye as a metaphor. Rather,
                                         Hangman is shown excelling at bar
                                         games; he hits the bullseye of a
                                         dartboard in a game of darts and later
                                         sinks a no-look pool shot. TGM 21:30-
                                         21:39, 24:49-24:52.
                                         Not similar; the cited portion of the
                                         Article likens the aviation “caste
                                         system” to the concentric “circles
                                         around the bull’s-eye of a gunnery
                                         target.” 3-ER-384. The bar scene does
                                         not depict this caste system or even
                                         feature a gunnery target.

The Article “portrays Yogi and Possum Unprotectable fact (that a squadron
as an intimate ‘home and family,’” and develops family-like ties, 4-SER-902).
“Maverick act[s] as a father figure to Not plot.
Rooster.” Id.
                                       Not accurate. The Article describes the
                                       Wolfpack squadron as Yogi and
                                       Possum’s temporary “home and
                                       family,” from which they are separated
                                       while at Top Gun. 3-ER-381–82.
                                         Not similar; Yogi and Possum are


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                                           contemporaries, 3-ER-379–80, whereas
                                           Maverick and Rooster develop a father-
                                           son type bond, e.g., TGM 2:00:13–
                                           2:01:36. Maverick’s bond with
                                           Rooster also derives from their
                                           distinctive history, with Maverick
                                           feeling lasting guilt over the death of
                                           Rooster’s father in an accident when
                                           they were trainees together long ago.
                                           E.g., TGM 31:03-32:37, 1:55:15-
                                           1:55:30. There is no parallel in the
                                           Article.

The Article “suggests that life as an      Unprotectable fact.
elite pilot strains a marriage,” and       Not plot.
“Maverick’s life as an elite pilot
strained his prior relationship with       Not similar. The Article’s “Heater”
Penny.” Br. 42-43.                         talks about not being able to tell his
                                           wife about his mission or to explain the
                                           feeling of flight, 3-ER-379, but the
                                           source of strain in Penny and
                                           Maverick’s relationship is his absence,
                                           e.g., TGM 22:11-24:10, 1:07:01-
                                           1:07:30. There is also no suggestion
                                           that Possum is anything but happily
                                           married. Maverick is not married and
                                           to the contrary had an on-again-off-
                                           again dating relationship with Penny.
                                           TGM 22:11-24:10.

Both works “emphasize the importance       Unprotectable fact.
of rigorous training for combat against    Unprotectable general plot idea (to the
a three-week deadline, with particular     extent it distills to achieving a goal
focus on dogfighting tactics and           under time pressure).
extreme mental and physical
demands.” Br. 43.                          Not accurate. Yogi and Possum train
                                           at Top Gun for five weeks, not three.
                                           And in Maverick, the pilots have less
                                           than two weeks to train for their
                                           mission. 3-ER-377; TGM 19:34-
                                           19:38, 1:07:39-1:07:54.


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                                           Not similar; Yogi and Possum
                                           complete a general Top Gun training
                                           course (not mission-driven training)
                                           and go off on a cruise (not combat)
                                           two weeks after they finish the course.
                                           3-ER-382, 3-ER-385. Their only time
                                           pressure is to “make [] up” for getting
                                           shot down in a training exercise before
                                           graduation. 3-ER-377. In Maverick,
                                           the pilots proceed to a deadly combat
                                           mission immediately after their less-
                                           than-two-week training. TGM
                                           1:26:00-1:57:35.

“Agonizing training is countered in        Unprotectable abstract idea.
both Works by reflective moments on        Not plot.
the ground, bar revelry, and
lighthearted recreational sailing.” Id.    Unprotectable facts (that Top Gun
                                           instruction includes aerial training and
                                           living and studying on the ground; that
                                           pilots spend some of their downtime in
                                           bars, including the one located at Top
                                           Gun; that the Wolfpack squadron went
                                           on a yacht while in Australia).
                                           Not similar. The “ground” scenes in
                                           Maverick advance its specific plot
                                           described above, including the
                                           deepening relationship between
                                           Maverick and Penny, and Maverick
                                           healing his relationship with Rooster,
                                           which have nothing in common with
                                           the Article. The sole bar scene in
                                           Maverick, TGM 21:24-32:38, precedes
                                           training and diverges from the scene in
                                           the Article with “nearly nude dancers”
                                           performing on “a small stage lit in reds
                                           and greens,” 3-ER-378–79. The sailing
                                           in the Article occurs on another
                                           continent during Yogi and Possum’s
                                           tour with their squadron before their


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                                              time at Top Gun, and the “glorious
                                              sailing yacht” with champagne
                                              transporting an entire squadron from an
                                              aircraft carrier bears no resemblance to
                                              Maverick and Penny manually sailing
                                              her broken two-person sailboat through
                                              rough seas to get the boat’s engine
                                              repaired. 3-ER-382; TGM 45:41-
                                              47:29.

    In the Article, “the pilots place a big   Unprotectable fact (that the Wolfpack
    brass bell in their favorite bar to be    hung a brass bell, and that such bells
    rung when someone breaks ‘house           are common in Navy Officers Clubs
    rules’ and must buy a round for all,”     worldwide and used to enforce the
    and “[t]he same brass bell shows up” in   Clubs’ rules, 4-SER-892, 4-SER-904–
    Maverick.7 Br. 43-44.                     05).8
                                              Not accurate. The Article’s bell is
                                              hung at NAS Miramar, 3-ER-382, and
                                              the bell in Maverick is at NAS North
                                              Island (which also has a bell in real
                                              life, 4-SER-904–05), TGM 15:25-
                                              15:56, so this is not the “same brass
                                              bell.”
                                              Not similar. The plot point in the
                                              Article is the act of hanging the bell,
                                              but the bell in Maverick is already
                                              established. 3-ER-382; TGM 24:25-
                                              24:49. The Article’s bell is to be rung
                                              “when someone walks into the club
                                              with his hat on, or when a customer
                                              finds himself behind the bar,” but

7
  Appellants also assert both works “capitalize on” pilots’ “‘frat-house’ culture,”
Br. 43, but that general statement is not accompanied by evidence and appears to
refer to the quoted passages about the bell.
8
 Indeed, when Maverick’s director visited one such Officers Club, he put his
cellphone on the bar, against Club rules. The bell was rung, and he had to buy a
round for everyone there. That inspired the parallel scene in Maverick. 3-SER-
826–27.

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                                            Maverick violates the club’s rules by
                                            putting his cellphone on the bar. Id.


 The Article “introduc[es] an Admiral       Unprotectable fact.
 who wants to ‘restore discipline and       Not plot (this statement in the Article
 naval decorum’ causing hotshot fighter     merely describes the history of Top
 jocks to leave,” and Maverick              Gun as part of its background on the
 “introduces an Admiral who espouses        school). 3-ER-382–84.
 discipline and wants to get rid of
 irreverent hotshots like Maverick.” Br.    Not similar. Admiral Cain wishes to do
 44.                                        away with fighter pilots altogether (not
                                            just “hotshots”) in favor of drone
                                            technology, TGM 5:15-5:42, 14:48-
                                            15:15, thus bearing no resemblance to
                                            the real-life Admiral Fellows in the
                                            Article. Admiral Fellows also is not
                                            described as wanting to cause an
                                            exodus of hotshots pilots versus
                                            inadvertently causing one when he
                                            began to enforce old rules, 3-ER-384.

      Appellants’ arguments on sequencing and pacing fare no better. They

mischaracterize the Article as having a linear sequence, Br. 44-45, when it bounces

forward and backward in time and topic, 4-SER-1001–02. The Article begins

midway through Yogi and Possum’s 1983 training at Top Gun, then zooms out to

describe Miramar and how the Wolfpack squadron fits into the broader Navy, then

turns to explaining the role and history of fighter pilots dating back to World War

I, then returns to the then-present with a description of the Officers Club at

Miramar and a happy hour unfolding in it, then shifts gears to an interview of a

lieutenant explaining what being a fighter pilot is like, then travels back to the


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1960s to recount Yogi’s childhood through his graduation from flight school in

1980, then returns again to the 1960s to recount Possum’s youth through his flight

school graduation in 1980, then goes on a lengthy interlude about the mechanics of

F-14 planes, then offers an anecdote from the Wolfpack’s cruise in the Indian

Ocean in 1982, then rewinds further to Yogi and Possum’s 1981 assignment to the

Wolfpack before advancing again to their six-month cruise with the squadron in

1982, then returns to delve more deeply into the history of Top Gun from the

1960s to the then-present, interrupted midway through with a real-time, first-

person account of Yonay’s flight in a fighter jet, then goes back to the start of Yogi

and Possum’s training at Top Gun, and concludes with their Top Gun graduation

and the start of their next cruise. 3-ER-375–85. Meanwhile, the only interruption

to Maverick’s linear, dramatic narrative is a single, short flashback sequence when

Maverick sees Rooster for the first time. TGM 31:18-32:20; 1-SER-102–03. (The

other “flashbacks” Appellants reference are not flashbacks at all, but rather

photographs adorning the present-day set. Br. 45 n.66 (citing TGM 3:45, 17:00-

17:25, 2:01:25).)

      Because the sequence of events is entirely different across the two works,

Appellants resort to broad statements about “idyllic flying” interrupted by

“agonizing climbs, dives, and dogfights.” Br. 45. Not only is this generic

“sequence” (if it can be called that) unprotectable, but Maverick does not portray



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any “idyllic flying” until its last scene with Maverick and Penny flying off into the

sunset. TGM 2:01:02-2:01:28. The other flight scenes are depicted with intensity

amid pilots’ training and combat (or, for Maverick’s first flight, the strain and

danger of pushing the scramjet to—and past—its limit). TGM 6:42-12:51, 35:40-

41:46, 48:30-52:31, 1:08:03-1:14:05, 1:19:21-1:22:34, 1:29:53-1:57:20.

Appellants further contend that both works mix aerial scenes with scenes on the

ground and at sea, Br. 45, but (1) that is not sequencing, and (2) that was not

original to Yonay, whose Article was about a naval aviation school and reflects the

reality that pilots cannot spend all of their time in flight. In any event, the

respective scenes, and the order in which they appear, are completely different.

And while Appellants concede the Article has an inconsistent pace, they

mischaracterize Maverick’s pace as inconsistent too, Br. 45-46, when in reality it

builds steadily toward its climax. 2-SER-304–06, 4-SER-1002–03; see generally

TGM.

                    ii.    THEME AND MOOD.

       Maverick’s primary themes are guilt, reconciliation, and redemption. 1-

SER-189–94, 1-SER-197–202, 1-SER-203–13, 4-SER-974. It features an older

hero, facing the end of his career, who makes peace with his past, while also

achieving great victory and disproving his doubters. 1-SER-178–79, 1-SER-198–

202, 1-SER-216–22. Along the way, he mends relationships—reconciling and



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forming a father-son connection with Rooster, and entering into a renewed

romance with Penny. 1-SER-142–44, 1-SER-198–202, 1-SER-216–22. The need

to make peace with one’s past to move forward is reinforced in the emotional

scene where Iceman advises: “IT’S TIME TO LET GO.” TGM 56:15-59:07; 4-

SER-983. Nothing resembling these themes appears in the Article, which is a non-

fiction piece about two pilots at Top Gun, the history of the school, and the

features of fighter planes. 1-SER-194–97, 1-SER-202–03, 1-SER-213–14, 4-SER-

974. The works’ overarching moods also diverge: Maverick embodies a serious

and intense mood, whereas the Article is generally upbeat and lighthearted. 1-

SER-275–77, 1-SER-279–80, 2-SER-282–86, 4-SER-996.

      Appellants point to three ostensibly shared themes that the court held “are

not present in either the Article, Sequel, or both,” namely: the “aviation ‘caste

system,’” “anachronism of fighter aviation,” and “post-war nostalgia that yearns

for a simpler 1950s America.” 1-ER-12; Br. 34-36. That remains true.

      First, the aviation caste system is not a theme of the Article but rather a

single-paragraph explanatory passage in its historical overview of Top Gun. 3-ER-

384. It is not a theme of Maverick either, which never mentions this caste system

and simply references the prowess of Top Gun graduates, e.g., TGM 1:26:00-

1:26:06—an unprotectable fact given that only the best fighter pilots are selected

for Top Gun. 4-SER-899.



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      Second, the anachronism of fighter aviation is not a theme of the Article but

rather part of a brief description of why fighter pilots remained important in the

1980s. 3-ER-377–78. And the fact that Maverick emphasizes the importance of

skill and training—not just technology—is hardly surprising, since it is, after all,

about the Top Gun academy. The Article also does not discount the importance of

technology or refer to technologically-superior enemy planes—it reports that the F-

14 is a “supreme air war machine” that “could have been designed by the Star

Wars special effects crew.” 3-ER-380. And while Maverick mentions the

possibility of pilots being replaced by drones, this is a real-world, factual issue, 4-

SER-915, involving technology that did not even exist when the Article was

written. In any case, man-versus-machine themes are “commonplace.” Goldberg

v. Cameron, 787 F. Supp. 2d 1013, 1020 (N.D. Cal. 2011).

      Third, postwar nostalgia is not a theme (or mood) of Maverick, which, to the

contrary, emphasizes modernity. 1-SER-237–44, 4-SER-999–1000. For example,

Admiral Cain wants to replace pilots with drones, TGM 5:15-5:42, 14:48-15:15;

Penny is an independent single mother and business-owner who refuses to wait

around for Maverick, TGM 22:10-24:50, 45:00-45:35, 1:59:30-2:00:08; and

Phoenix is a confident female fighter pilot who fends for herself, TGM 25:00-

26:59, 1:25:58-1:26:53, 1:37:18-1:41:20. The only nostalgic moments in Maverick

are Maverick and Rooster briefly looking back at old photos, TGM 17:04-17:30,



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2:01:28-2:01:42, and Maverick’s quick banter with Iceman about who was a better

pilot, TGM 59:46-1:00:04—which reflect back to the 1980s (the Article’s present-

day) and not the postwar period. 4-SER-999–1000.

      Nor does Maverick have a “‘Western’ gunslinger” theme. 4-SER-977; Br.

37. Appellants’ use of the same “Western” diction to describe both works does not

make it so—nor, even if true, would this be a theme. And Appellants’ aside that

“the name ‘Maverick’ evokes Westerns,” Br. 37, is not objective, unsupported by

admissible evidence, and ignores that this callsign simply describes Pete Mitchell’s

personality. Likewise, “ideological rifts” between discipline-driven admirals and

“hotshot pilots,” Br. 37, is not a theme of Maverick (Admiral Cain’s drive is to

replace human pilots with drones, not to instill discipline, TGM 5:15-5:42, 14:48-

15:15), or of the Article (it is a two-sentence digression as Yonay relates the

history of Top Gun, 3-ER-384). Nor does the Article “glorify the moxie of older

pilots,” Br. 35, by referencing that only “one or two instructors could speak with

the authority of actual combat experience,” 3-ER-384.

      Appellants’ discussion of mood is likewise flawed. The “constant threat of

death and violence,” Br. 38, is not a mood,9 and even if it were, (i) it is a factual



9
  Appellants’ suggestion that fighter pilot training is not dangerous, Br. 38, is
inconsistent with the facts asserted in the Article itself and those established during
discovery, 4-SER-898. It also ignores that Maverick (unlike the Article) features
pilots embarking on an actual, deadly mission.

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aspect of fighter pilot training, 4-SER-898, and (ii) the Article is largely upbeat

despite its topic—for example, portraying Yogi and Possum as feeling “great”

about their “hop,” “shrug[ging]” about being “shot down” in training, and

declaring it “Miller time” as they go out for drinks afterward. 3-ER-375–77.

Appellants are also wrong to suggest the court “injected its subjective opinion” by

dismissing the “contrast[] [of] the ethereal beauty of the ‘vast blue dome of sea and

sky’ against jarring, unpredictable competitive action” as not a mood. Br. 39. It

isn’t, and, to the extent they argue it merely “evoke[s]” a mood, id., they defy the

extrinsic test’s mandate to identify objective, articulable similarities between the

works. Appellants’ remaining “moods” are their own flowery descriptions of the

works, Br. 39-40, with no grounding in the works themselves or what a “mood”

actually is (the “predominant emotion” evoked by a work, Mood, Merriam-

Webster Dictionary, https://www.merriam-webster.com/dictionary/mood).

                    iii.   CHARACTERS, DIALOGUE, AND SETTING.

      The court rightly held that neither the Article’s characters nor its dialogue

are protected, because they are historical people and real statements made by them.

1-ER-12–13. Appellants say this conclusion “runs afoul” of Corbello. Br. 48.

Not so. It is exactly what Corbello requires. “A character based on a historical

figure is not protected for copyright purposes”—bland biographical facts and

colorful personality traits alike. 974 F.3d at 976 (real person’s “voice, cool



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demeanor, and braggadocio” not protectable). Dialogue that an author “holds []

out as historically accurate dialogue” is “unprotected by copyright” too. Id. at 983.

That is dispositive.

      Appellants’ authorities cannot help them escape this rule. Harper & Row

concerned verbatim copying of an author’s “original language,” 471 U.S. at 548-

49, and stands only for the unremarkable proposition that copyright protects the

original prose used to describe facts. De Acosta v. Brown is inapposite as it

concerned an invented love interest and other “fictionalized happenings” that an

author “added to the life of a historical character.” 146 F.2d 408, 409 (2d Cir.

1944). And Eggleston v. Twentieth Century Fox Film Corp. is an isolated out-of-

circuit decision by a Michigan trial court that found Corbello (by which it was not

bound) to be “of minimal value” to the issue before it, but nevertheless dismissed

the complaint, holding that “using some of the facts of [plaintiff’s] life—even if

they were transferred into a new, fictional character—does not violate copyright

protections.” 2022 WL 3371601, at *4 (E.D. Mich. Aug. 16, 2022).

      Appellants’ comparison of characters and dialogue would fail without this

rule too. Even fictional characters are only protectable when they are “especially

distinctive” and “contain some unique elements of expression,” DC Comics v.

Towle, 802 F.3d 1012, 1021 (9th Cir. 2015), yet the “similarities” on which

Appellants rely are generic and indistinct, like the pilots uniformly being “men’s



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men” or cocky. Br. 49-50. Appellants claim Yogi, Possum, Maverick, and

Rooster (and Goose of Top Gun) are “jocular, confident, competitive with ‘shit-

hot’ bravado, good-humored and deeply committed,” but these traits are too

generic to be protectable—as Appellants’ lumped-together comparison of five

discrete characters confirms. Br. 49.

      Appellants’ argument on dialogue is even flimsier. As the court held, “[t]he

dialogue in [Maverick] is not similar to that in the Article.” 1-ER-12. Appellants

point to exactly one two-word phrase that appears in both the Article and

Maverick: pilots say “Fight’s on” at the outset of aerial training exercises.10 Br. 50.

But this is (a) factual (not just its reportage in the Article, but its broader usage to

kick off military training exercises, 3-SER-671–72, 3-SER-676); (b) an

unprotectable “[o]rdinary phrase[],” Corbello, 974 F.3d at 977-78; and, in any

event, (c) a far cry from the “extended similarity of dialogue” that is “needed to

support a claim of substantial similarity,” Olson v. Nat’l Broad. Co., 855 F.2d

1446, 1450 (9th Cir. 1988); Esplanade Prods., Inc. v. Walt Disney Co., 768 F.

App’x 732, 734 (9th Cir. 2019) (“single common line of dialogue” is

“insufficiently significant to constitute protected expression”).

      Appellants’ setting comparison likewise hinges on unprotectable elements



10
  The other “quips” Appellants call out from the Article do not appear in Maverick
and find no support in Appellants’ citations. Br. 50 & n.75.

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that do not belong in the extrinsic analysis—not to mention the works are actually

set in different places and different time periods. Most significantly, the Article’s

setting at NAS Miramar—including its Officers Club and “Welcome to

Fightertown” sign—is an unprotectable fact. As Yonay reported, NAS Miramar

was the real-life home of the Navy’s Top Gun academy and the place where most

events recounted in the Article actually occurred. 4-SER-891. In any event, in

Maverick, Top Gun is at NAS North Island—another real-life Naval Air Station—

not Miramar.11 TGM 15:25-15:56.

      Appellants’ unsupported contention that it “taught Paramount how to see

and use those settings,” Br. 47, also has no place in the extrinsic test’s objective

comparison of articulable similarities. No matter how they phrase it, Appellants

ultimately seek the exclusive right to the factual reality of the Navy’s Top Gun

academy. On their theory, the only way PPC could avoid infringing the Article

would be to produce an unrealistic film about Top Gun—perhaps designing the

Officers Club like a Manhattan cocktail bar, or inventing a different social hub

entirely for an alternate-reality Top Gun. Copyright law requires no such thing.



11
  Appellants’ discussion also strays from setting altogether. Notwithstanding
Appellants’ citation to their excluded expert’s report, “Yonay’s view of the
Academy’s culture” and a “social environment” that is “ultra-competitive, but
collegial,” Br. 47, are not settings. See Setting, Merriam-Webster Dictionary,
https://www.merriam-webster.com/dictionary/setting (defining “setting” as “the
time and place of the action of a literary, dramatic, or cinematic work”).


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                                    *      *     *

      In sum, the Article and Maverick share virtually no objective, articulable

similarities in plot, themes, dialogue, mood, setting, pace, characters, or sequence

of events. The little they share is unprotectable and thus irrelevant to the extrinsic

analysis. Viewing these elements in the aggregate only confirms that the Article

and Maverick are not substantially similar as a matter of law.

                    iv.   SELECTION AND ARRANGEMENT.

      Facing that obvious result, Appellants retreat to asserting a selection-and-

arrangement copyright, which protects “the particular way in which the artistic

elements form a coherent pattern, synthesis, or design,” and is infringed “only

where the works share, in substantial amounts, the ‘particular,’ i.e., the ‘same,’

combination of unprotectable elements.” Skidmore, 952 F.3d at 1074-75. An

infringement plaintiff cannot state a selection-and-arrangement claim simply by

identifying “random similarities scattered throughout . . . the works” and

“[l]abeling them a ‘combination’ of unprotectable elements.” Id. at 1075. Without

showing how these unprotectable elements were originally “selected” and

specifically “arranged”—and how such “arrangement” was copied by the

defendant—“there is no liability for taking ideas and concepts from the plaintiff’s

work, even in combination.” Id.

      As explained above, the Article provides a completely different sequence of



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events from Maverick, which is a fictional action movie culminating in a daring

attack on an enemy target. That sharply undercuts—if not defeats entirely—

Appellants’ selection-and-arrangement argument, because, for literary works,

sequence is how selected story elements are arranged. That there are some alleged

similarities between the works is not enough: a plaintiff cannot “establish

substantial similarity by reconstituting the copyrighted work as a combination of

unprotectable elements and then claiming that those same elements also appear in

the defendant’s work, in a different aesthetic context.” Id. But that is exactly what

Appellants do—trying to exploit a selection-and-arrangement theory to circumvent

the fact/expression dichotomy, and relying on any arbitrary overlap they can find

(or invent) between the works.

      Appellants also protest this Court’s articulation of the selection-and-

arrangement standard, namely that a plaintiff must demonstrate the “same”

combination of elements in both works. Br. 19-20. They try to distinguish

Skidmore—the source of this “same” language—by its facts, namely, the

purportedly limited ways to arrange the musical elements there.12 But Skidmore’s

statement of law did not hinge on the thinness or thickness of the copyright. 952

F.3d at 1076 n.13. Where that comes in is “the degree of overlap” that is “required



 Appellants also incorrectly invoke a concurrence as the statement of “this
12

Court.”


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for the similarity to be substantial,” i.e., how much of the same combination(s)

must appear. Id.

      Appellants challenge the selection-and-arrangement standard because they

cannot meet it. For all their conclusory assertions that Yonay’s “original choices”

must be protected, Br. 23, Appellants still do not identify the “particular” manner

in which the Article’s “artistic elements form a coherent pattern,” or how Maverick

possibly borrows that “same” combination. At minimum, a successful selection-

and-arrangement claim in the context of a literary work requires that the

unprotectable elements be arranged in such a similar way that the works tell a

similar story, but here, the stories are completely different, and only share a topic

(and elements that flow therefrom). See Corbello, 974 F.3d at 974 n.2.

      Unable to point to any such similar arrangement, Appellants largely ignore

the works’ plots and sequences of events, and instead point to general, unoriginal

decisions for a narrative work, such as focusing on personal stories rather than

“offer[ing] an encyclopedic narration” of Top Gun, Br. 23, or “tell[ing] the Story

through the eyes” of pilots, Br. 33—though, to be clear, much of the Article

actually comprises Yonay’s historical narration of Top Gun’s history and the

mechanics and pros/cons of F-14 planes.

      Appellants also lay out a laundry list of facts about Top Gun and its pilots

that Yonay included in his Article that they contend also appear in Maverick. That



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practice is exactly what Skidmore cautioned against. Even if the inclusion of these

facts could constitute a “selection,” they do not constitute a protectable

arrangement—and Appellants cannot have a copyright interest in merely

“selecting” to tell a story about fighter pilots at a real-life training facility. Any

feature-length film about Top Gun, especially one that endeavors to be realistic, is

bound to have some factual overlap with the Article. To any extent the Article

“evokes” the “world” of Maverick, Br. 33—which goes to the “total concept and

feel of the works” under the intrinsic test and not the objective extrinsic one,

Benay, 607 F.3d at 624—it is only because both works “evoke” the real-life

“world” of Top Gun.

      On top of that, almost all of Appellants’ proffered similarities are inaccurate.

By way of example only (and in addition to those “similarities” debunked above):

   • Inside a fighter jet is not “the only place Maverick is at home”—that is

      Appellants’ subjective take—and neither of Appellants’ Maverick citations

      supports that statement. Br. 25 & n.14.

   • While Maverick waves at an enemy pilot, it is not a “cheeky exchange” and

      has a different context from Yogi’s interaction, 3-ER-382; Maverick has

      stolen an enemy plane and waves (and makes “hand signals”) at the enemy

      pilot to keep up the illusion they are on the same team to stave off a

      dogfight. TGM 1:45:40-1:50:05. Br. 25-26.


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• The Article spends just two sentences describing Admiral Fellows’ short-

   lived disciplinarian command of Top Gun in the late 1970s, without broader

   attention to “tension between naval brass and fighter jocks.” 3-ER-384.

   Maverick’s Admiral Cain wishes to replace pilots with drones, not just

   “hotshots,” and that position is far from “by the book” (not to mention the

   Article predates drones). TGM 5:15-5:42, 14:48-15:15. Br. 26.

• The pilots in Maverick do not display any “denial mechanism” after a near-

   fatal accident, but rather are shaken by it. TGM 1:10:45-1:15:40. Br. 26.

• Maverick’s “death-defying crash landing on an aircraft carrier” is nothing

   like the Article’s factual description that landing on an aircraft carrier is a

   “controlled crash.” Br. 26. These are opposite phenomena: The “controlled

   crash” in the Article is a standard fighter jet landing, 3-ER-381, whereas

   Maverick’s landing was an atypical, actual crash landing, rendered perilous

   by damage to the aircraft, TGM 1:56:26-1:57:20.

• Maverick’s dogfights are not “collegial.” Br. 26. For example, Rooster gets

   so angry with Maverick that he nearly crashes, the pilots repeatedly insult

   each other, and Rooster and Hangman physically fight. TGM 38:07-41:45,

   53:16-53:43.

• The training sequences in the Article and Maverick are different and

   mischaracterized by Appellants. Br. 26-27. Appellants misrepresent the


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      sequence in the Article by using an ellipsis to eliminate the “two-versus-two

      hops” that follow the “one-versus-one hops”—since there are none in

      Maverick. 3-ER-384. They likewise use an ellipsis to change the Article’s

      description of the “two-versus-unknown hop,” which actually refers to two

      student crews “tak[ing] off not knowing how many bogeys are waiting out

      there or where they’ll come from or in what order”—again, something that

      never occurs in Maverick. 3-ER-384. Appellants inaccurately describe

      Maverick’s training sequence too: Every dogfight training sequence in

      Maverick begins with a two-versus-one hop (not described in the Article),

      with Maverick facing off against two trainee planes. TGM 35:42-41:45.

   • Yogi and Possum are not deflated and downcast when they get shot down in

      training, Br. 27; they shrug, joke, and go out for drinks. 3-ER-376–77.

   • There is no similarity between the Article’s description that poor air flow at

      high angles of flight can cause a plane’s engines to die, 3-ER-380, and the

      cited scene in Maverick where a plane ingests birds, causing its engine to

      catch fire (which also does not occur “in the middle of [a] vertical stunt,”

      contrary to Appellants’ description), TGM 1:13:00-1:14:00. Br. 31.

      Beyond these falsities, Appellants try to invent similarities by using the

same flowery diction to describe both works. That does not pass muster. Just

because Appellants call the flight sequences in both the Article and Maverick “an


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aerial ballet, at once lyrical and violent,” or postulate that “beauty and terror spring

from each other” in both works, Br. 30, does not render them similar. Nor are the

cited similarities “central to both Works,” Br. 34, just because Appellants say so.

      Appellants also argue Maverick “mimics Yonay’s cinematic descriptions of

fighter jets,” Br. 30, but this is not selection and arrangement, and reduces to an

argument that, because Yonay once described aerial combat, no one else can ever

depict it (using real planes, much less). Appellants have no claim to the real

features of planes described in the Article, nor can they block any film from

showing them in action, simply because Appellants label Yonay’s descriptions

“cinematic.”

      Appellants also lay claim to an unoriginal “rhythm” inherent to any story

about fighter pilot training, in that both works alternate between scenes in the air

and scenes on the ground, action scenes and quieter moments. Br. 30. But

Appellants do not own the factual reality that fighter pilots are not always flying

(and are not actively dogfighting every second of flight), see Corbello, 974 F.3d at

974 n.2, and as explained above, the order and context in which the respective

scenes occur are completely different in the two works.

      Maverick tells a very different story, in a very different way, and in a very

different sequence, from the Article. Despite repeated chances, Appellants fail to

articulate what original combination of elements, selected and arranged in what



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particular way, purportedly appears the same way in the Article and Maverick.

       3.    The Court Rightly Held That Appellants Cannot Prevail on Their
             Contract Claim.

       With no infringement claim to rest on, Appellants resort to contract law to

drum up a cause of action against PPC. The court rightly dispensed with that claim

too.

       Appellants premise their contract claim on Paragraph 7(b) of the

Assignment, which provides that PPC will credit Yonay on “any motion picture

photoplay that may be produced by it hereunder and substantially based upon or

adapted from [the Article] or any version or adaptation thereof, substantially

incorporating the plot, theme, characterizations, motive and treatment of [the

Article] or any version or adaptation thereof.” 3-ER-396. Broken down, it

imposes a credit obligation for any motion picture that is both (1) “produced by”

PPC “[]under” the Assignment, and (2) “substantially based upon or adapted from

[the Article] or any version or adaptation thereof,” as defined therein. Maverick is

neither. Most significantly, Maverick cannot have been “produced []under” a

terminated assignment of rights which, for the same reasons the infringement claim

fails, were not used to make Maverick.

       The language of Paragraph 7(b) is unambiguous—“and” means “and,”

providing two conditions that must both be satisfied—and the Court is therefore

“bound to give effect to the plain and ordinary meaning of the language used by


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the parties.” People ex rel. Lockyer v. R.J. Reynolds Tobacco Co., 107 Cal. App.

4th 516, 524 (2003). The California Supreme Court has confirmed “[t]he ordinary

and usual usage of ‘and’ is as a conjunctive, meaning an ‘additional thing,’ ‘also’

or ‘plus.’” In re C.H., 53 Cal. 4th 94, 101 (2011). Consistent with that common

understanding, California courts have repeatedly interpreted “and” as a conjunctive

term used to connect distinct contractual requirements. E.g., RBB2, LLC v. CSC

ServiceWorks, Inc., 2019 WL 1170484, at *5 (E.D. Cal. Mar. 13, 2019); Alfaro v.

Cmty. Hous. Improvement Sys. & Plan. Assn., Inc., 171 Cal. App. 4th 1356, 1379

(2009).

      Appellants’ contrary argument—that the operative clause is a “hendiadys”

such that the “produced []under” prong has no independent meaning, Br. 61—has

no grounding in contract law or the Assignment. Their sole “hendiadys” citation is

decades-old, out-of-circuit sex discrimination case, which did not even address

contract interpretation. Br. 61 (citing Bennett v. N.Y.C. Dep’t of Corrs., 705 F.

Supp. 979, 987 (S.D.N.Y. 1989)). Appellants offer no justification for writing the

“produced hereunder” language out of the Assignment, which violates the basic

tenet of contract interpretation that a “contract term should not be construed to

render some of its provisions meaningless or irrelevant.” In re Marriage of

Nassimi, 3 Cal. App. 5th 667, 688 (2016).

      Appellants contend that courts “regularly construe ‘and’ in context to mean



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‘or,’” Br. 61, but that argument concedes that their interpretation departs from the

ordinary meaning of “and.” Appellants’ two citations also do not support their

position. Tricor departed from the ordinary meaning of “and” only because, on its

facts, the ordinary meaning “leads to absurd results.” Tricor Am., Inc. v. Illinois

Union Ins. Co., 351 F. App’x 225, 227 (9th Cir. 2009). But reading the

Assignment to mean what it says yields no such absurdity—it is the only

interpretation that harmonizes all provisions of the contract. And People v. Schulz,

66 Cal. App. 5th 887, 896-99 (2021), does not concern contract interpretation at

all, and was driven by the rule against surplusage, which Appellants’ interpretation

violates.

             a.    Maverick Was Not “Produced Hereunder.”

      Maverick cannot have been “produced []under” the Assignment for two

separate reasons. First, because Maverick is not substantially similar to the Article

as explained in Section VI.A.2., supra, and thus did not infringe the rights to the

Article irrespective of the Assignment, Maverick was necessarily produced

independent of the rights conveyed in the Assignment rather than “under” it.

Second, because Appellants terminated the Assignment before the production of

Maverick was complete, Maverick cannot have been produced “under” that

terminated Assignment.

      Appellants have no answer to the first point, which is dispositive. They



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simply revert to their hendiadys argument, asserting that “produced by [PPC]

hereunder” does not mean what it says, and instead takes on the meaning of the

second requirement in the credit trigger (the “substantially based upon or adapted

from” clause). Br. 62. That argument fails for the reasons discussed above.

      On the second point, Appellants argue their termination is immaterial

because it encompassed only the transfer of U.S. copyright in the Assignment and

not the transfer of foreign rights, which they claim PPC relied upon to “distribute[]

[Maverick] worldwide.” Br. 62. But PPC’s distribution of Maverick

internationally cannot salvage Appellants’ claim, because the provision expressly

concerns the “produc[tion]” and not the distribution of a motion picture, and PPC

could not have produced Maverick in the first place had it required Appellants’

rights to do so.

             b.    Maverick Was Not “Substantially Based Upon or Adapted
                   From” the Article or an Adaptation Thereof.

      Appellants cannot satisfy the latter condition either, though this issue is

mooted by the dispositive failure of the first. Appellants do not even argue

Maverick is substantially based upon or adapted from the Article, likely because,

for the same reasons discussed on infringement, they cannot show Maverick

substantially incorporates the Article’s plot, theme, characterizations, motive, and

treatment. Nor do they show that the 1986 Top Gun film was an “adaptation” of

the Article, which would be necessary for them to leverage the connection between


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Maverick and the 1986 film.

      Appellants contest the court’s conclusion that they did not offer sufficient

support for the proposition that the 1986 Top Gun film was an adaptation of the

Article, but all they did then and all they do now is conclusorily say so and point to

Yonay’s “suggested by” credit on Top Gun. Br. 63-64; 2-ER-35-36; 2-ER-69-70;

2-ER-147. That gratuitous nod to Yonay confirms only that Top Gun’s producers

took inspiration from the Article—a far cry from rendering it an adaptation.

             c.     Paragraph 8 of the Assignment Confirms No Credit
                    Obligation Attaches Here.

      Appellants face yet another problem in Paragraph 8 of the Assignment,

which provides: “Nothing contained in this agreement shall be construed to be or

operate in derogation of or prejudicial to any rights, licenses, privileges or property

which [PPC] may enjoy or to which [PPC] may be entitled as a member of the

public even if this agreement were not in existence.” 3-ER-397. But if, as

Appellants contend, a credit obligation attaches to Maverick irrespective of

whether it uses protectable expression from the Article, and irrespective of whether

it would infringe on the Article’s copyright, then PPC would be worse off than the

general public, in defiance of Paragraph 8.

      Appellants do not meaningfully contend with Paragraph 8, notwithstanding

the basic principle that “[t]he whole of a contract is to be taken together” with

“each clause helping to interpret the other.” Cal. Civ. Code § 1641. The best they


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muster is an argument that it is irrelevant because only PPC—not the general

public—promised to credit Yonay on such films. Br. 63. That makes a mockery

of Paragraph 8. Everything in a contract is a promise to do or abstain from doing

something. On Appellants’ reading, no person except PPC would need to give a

nod to Yonay to make a film like Maverick.

      Appellants alternatively argue that, even if their interpretation is wrong, the

credit provision takes precedence over Paragraph 8 as the “more specific”

provision. Br. 63. Not so. It is blackletter law that a court must “try to give effect

to every clause [of a contract] and harmonize the various parts with each other.”

Friedman Prof. Mgmt. Co. v. Norcal Mut. Ins. Co., 120 Cal. App. 4th 17, 33

(2004). Because Appellants’ reading is not only atextual but also creates internal

conflict, while PPC’s adheres to plain language and harmonizes the various

provisions of the Assignment, PPC’s commonsense interpretation controls.

B.    The Court Properly Excluded Appellants’ Literary Expert Under Rule
      702.

      Appellants also challenge the court’s exclusion of their literary expert Henry

Bean. His exclusion was not only permitted but required by Rule 702.

      Rule 702 “imposes a special obligation upon a trial judge to ensure that any

and all [expert] testimony is not only relevant, but reliable.” Kumho Tire Co. v.

Carmichael, 526 U.S. 137, 147 (1999) (cleaned up). Bean’s opinions were neither.

Not only did Bean fail to filter out unprotectable elements when analyzing the


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works for substantial similarity, but his analysis was full of methodological errors

that made his opinions unreliable and unhelpful on the extrinsic test.

      1.       Bean’s Failure to Filter Unprotectable Elements Warranted His
               Exclusion.

      Appellants argue the court abused its discretion by excluding Bean for

failure to filter unprotectable elements from the works before comparing them. Br.

51-55. They claim Bean did filter—and alternatively was not required to do so

because they advance a selection-and-arrangement theory. Id. They are wrong on

both fronts.

      Bean repeatedly admitted he did not filter unprotectable elements from the

works. He testified, for example, that his methodology involved trying to

“identif[y] as many similarities as [he] could.” 4-SER-1072–75. He explained he

was “not sitting there thinking, well, this goes in the protected bucket and that goes

in the unprotected bucket,” and that purported “similarities” he identified may have

included both protected and unprotected elements. 4-SER-1074.

      Consistent with that error, Bean spent much of his report drawing

similarities between factual elements of the Article and Maverick. For example, he

pointed to the presence of real-life, historical figures at Top Gun (like Randy

Cunningham, who famously “downed three MiGs in one day, and five in his career

to become the first official ‘ace,’” 2-ER-168), and real-life facts about fighter jets

(like the fact that pilots cannot practice using a jet’s ejection seat, and the fact that


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an F-14 plane has wings that “sweep back” or “open to the sides”), as overlapping

“similarities.” 2-ER-172, 2-ER-174.

      Appellants claim that Bean properly analyzed “expression” of facts—but

they point only to vague statements in Bean’s report where he asserted, without

support, that there were no unprotectable elements in the Article to filter. Br. 51-

52. That is plainly contradicted by the Article itself. Bean relied on similarities

throughout his report that stemmed from purely factual material in the works, as

the following examples illustrate:

   • The Article and Maverick both contain “a Big Brass Bell placed in the pilot’s

      favorite bar,” which is rung “when anyone breaks the ‘house rules’” to

      signify that “he must buy a round for everyone in the bar,” 2-ER-167;

   • The reality of G-forces is shown in both the Article and Maverick, 2-ER-

      173;

   • The Article references Rear Admiral Paul “Gator” Gilchrist, an actual

      historical figure who “comes to the Top Gun school and restores its lost

      glory” in a manner purportedly similar to a military officer in Maverick. 2-

      ER-166.

Bean’s claim that there was nothing to filter out from his analysis is demonstrably

false—and also underscores why his report was correctly excluded.

      Indeed, virtually everything he discussed distills to an unprotectable fact or


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idea. As explained in Section VI.A.2.a., supra, all factual material should have

been filtered, no matter how much “expression” Yonay layered on top of it. The

court acted well within its discretion to exclude Bean’s testimony as a result. See

Johannsongs-Publ’g, Ltd. v. Lovland, 2021 WL 5564626, at *1 (9th Cir. Nov. 29,

2021) (affirming exclusion of expert reports that “failed to filter out similarities

that [were] attributable to prior art, as required under the extrinsic test”); Knowles

v. Spin Master, Inc., 2019 WL 4565102, at *4 (C.D. Cal. Sept. 17, 2019) (finding

expert’s opinions “not helpful to the Court” under Rule 702 because “she does not

attempt to differentiate between protectable and unprotectable elements of the

works”).

      Appellants cite Gilbert-Daniels v. Lions Gate Entertainment to support their

position that Bean filtered, but its fact pattern has no bearing here. Br. 53 (citing

2023 WL 8938403, at *5 (C.D. Cal. Dec. 7, 2023)). The expert in Gilbert-Daniels

“focus[ed] on comparing elements that he found were protectible,” 2023 WL

8938403, at *5, a step Bean admittedly did not take before beginning his analysis.

Bean’s testimony made clear he did not even understand what would make an

element unprotectable: He asserted, for instance, that parts of the Article that were

present in “every article or every characterization of that world” could not be

“stock” elements because Yonay’s “skill made [them] feel original.” 4-SER-




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1085.13

      Because Bean so clearly failed to filter, Appellants contend he was not

required to do so given their selection-and-arrangement claim. But this Court has

explained that filtration is mandatory even when considering selection and

arrangement. (And of course, this argument does nothing to salvage Bean’s

unfiltered opinions on the heart of the extrinsic test.)

      This Court’s precedent is clear: “unprotectable elements” of the works “have

to be identified, or filtered, before the works can be considered as a whole.”

Cavalier, 297 F.3d at 826 (emphasis added); id. at 822 (the court “must take care to

inquire only whether the protectible elements, standing alone, are substantially

similar”). That rule holds true even where a copyright infringement claim is

“based on original selection and arrangement of unprotected elements.” Id. at 826.




13
   Appellants contend the court should not have stricken Bean’s declaration. As an
initial matter, the court did not strike the declaration. See 1-ER-6 n.2 (no order
striking declaration). But even if it had, striking Bean’s declaration would be
entirely proper because his post hoc explanations for his expert report created a
“clear and unambiguous” inconsistency with prior testimony. Van Asdale v. Int’l
Game Tech., 577 F.3d 989, 998-99 (9th Cir. 2009). At his deposition, Bean
admitted to “not thinking about the Ninth Circuit’s definition” when rendering his
opinions, and “not sitting there thinking, well, this goes in the protected bucket and
that goes in the unprotected bucket.” 4-SER-1071, 4-SER-1074. In his
declaration, Bean reversed that position. 2-ER-111–12. Bean’s reversal was a
clear attempt by Plaintiffs to “create an issue of fact by an affidavit contradicting []
prior deposition testimony,” Kennedy v. Allied Mut. Ins. Co., 952 F.2d 262, 266
(9th Cir. 1991), and the court rightly disregarded it.


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In short, before engaging in its substantial similarity analysis, the court was

obligated to first “filter out and disregard the non-protectible elements” of the

works, id. at 822—a task Bean overlooked.

      Moreover, even if Appellants were right that failure to filter is not fatal to

Bean’s selection-and-arrangement discussion, it would do them no good. His

cursory, two-page analysis of selection and arrangement remains indefensible

under Rule 702: it is inaccurate, abstract, subjective, citationless, and belies a

misunderstanding of what selection and arrangement is. See 2-ER-191–93. Bean

focuses largely on purported similarities between the Article and the original Top

Gun, which is not at issue. Id. Although he describes some of Yonay’s basic

creative choices, he does not begin to explain how Maverick supposedly copies

Yonay’s “particular” selection or arrangement of elements. The best he musters is

to point out that the Article and Maverick share a (general) subject in Top Gun,

“give[]” their protagonists a “problem” to overcome (i.e., a “conflict”—an

essential element of virtually every literary work), and feature a mix of scenes in

the sky and on the ground. 2-ER-191–93. Those generalities come nowhere close

to showing a “substantial” overlap in the “same” combination of elements.

      2.     Bean’s Analysis Was Riddled With Other Methodological Flaws.

      The court also did not rely exclusively on Bean’s failure to filter in

excluding his opinions. It explained that Bean’s opinions were also “unhelpful”



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because he “provide[d] a subjective, rather than objective, comparison” of the

works, and more broadly “d[id] not meet the standards for admissibility set forth in

Rule 702.” 1-ER-6.

      First, factual inaccuracies pervaded Bean’s comparison of the works. For

example, Bean falsely characterized the “last scene” of Maverick to conjure a

similarity to the Article: His report says that “the last scene” of Maverick depicts

Maverick “‘just stand[ing] there’ by himself, pleased with his success, at peace

with himself and – as always with the cowboy – alone.” 2-ER-177. That is not

how Maverick ends. When Bean was shown the film’s actual ending at his

deposition (depicting Maverick and Penny flying off together), Bean admitted he

was “inaccurate” in his report, and claimed he “erased” the film’s subsequent

scenes because they “seem[] to me utter bullshit.” 4-SER-1089–90. Similarly,

Bean drew comparisons between the “glorious sailing yacht” described in the

Article and a so-called “beautiful sailing yacht” in Maverick, 2-ER-182, but that

too was inaccurate. The actual scene shows Maverick sailing with Penny on a

broken, two-person sailboat to get its engine repaired. TGM 45:49-47:27. Indeed,

Bean’s report mirrors the many false similarities outlined in Section VI.A.2.b.,

supra. Only by inaccurately describing these scenes could Bean “find”

similarities—on which no factfinder could rely.

      Second, Bean described the works in abstract terms, rendering his analysis



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even less helpful. The court must evaluate the “articulable similarities” in the

works’ “specific expressive elements,” Cavalier, 297 F.3d at 822, and the “abstract

nature” of an expert’s opinion on substantial similarity is grounds for exclusion.

Rice, 330 F.3d at 1180 (court properly disregarded expert’s testimony after

“deem[ing] it unhelpful due to its abstract nature”). Bean drew similarities

between the works on the basis of such abstract features as:

      • The Article and Maverick both portray combat training as “arduous and

          demanding,” 2-ER-170;

      • Both works “portray[]” pilots as “audacious cowboys,” 2-ER-177;

      • The Article has a “very palpable tone which informs the dialogue and

          tone” of Maverick, 2-ER-178;

      • The Article contains descriptions of jets flying that resemble the

          “dizzying and dazzling aerial footage” in Maverick, id.

      Third, these defects were compounded by Bean’s failure to include any

citations in his report. He did not cite a single page in the Article or timestamp in

Maverick, leaving the court with no way to verify Bean’s (often inaccurate)

conclusions. And while Bean purported to rely on “tons” of film sources for his

analysis, he did not track or cite a single one. 4-SER-1091–92.

      Fourth, Bean compiled a simplistic list of purported similarities between the

works while ignoring vast dissimilarities. A simple “list[] of similarities” is


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“inherently subjective and unreliable.” Olson, 855 F.2d at 1450. But that is

exactly what Bean set out to identify, making his methodology even less helpful.

See 4-SER-1068, 4-SER-1092–93 (Bean testifying that it “wasn’t [his]

assignment” to address dissimilarities between the works, and he “did not think it

was [his] job to do that”).14

      Fifth, Bean made clear that he did not understand the literary elements he

attempted to analyze. The extrinsic test requires a comparison of specific literary

elements in the works, Kouf, 16 F.3d at 1045, but Bean’s analysis routinely

misapplied those categories. For example, he labels as “plot” the (false) shared

bullseye metaphor and the works’ ostensible portrayal of fighter pilots as “elite

‘hotshots,’ both macho and cool,” 2-ER-167–68; classifies as “theme” that

“everybody knows” who the “[r]eally great fighter pilots are,” 2-ER-177; describes

the “enormous cost” of fighter jets as a setting, 2-ER-182; and so forth. His

analysis was unmoored from the literary elements he purported to evaluate and

applied no reliable methodology.

      Sixth, Bean’s analysis veered into the subjective intrinsic test (“the total

concept and feel of the works,” Cavalier, 297 F.3d at 822), even though that test




14
  Appellants also falsely contend Bean was improperly excluded for failing to
“render legal conclusions as to copyrightability.” Br. 54. They cite nothing from
the court’s opinion to support that assertion.


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must be performed “with no expert assistance.” Gray v. Hudson, 28 F.4th 87, 96

(9th Cir. 2022). Bean repeatedly opined on the “feeling” of the works, which is

not only unhelpful but outright improper. 2-ER-160–62; 2-ER-178–80; 2-ER-195.

Appellants argue this was not a proper basis to exclude Bean, reducing it to a ban

on the word “feel” and contending that its usage was meant to “explain how

particular extrinsic elements were expressed by Yonay and its impact.” Br. 56.

That is a caricature of the court’s holding. In reality, much of Bean’s “feeling”

discussion was about the works in their totality. But even when it wasn’t, Bean’s

subjective and non-specific musings about the works are not somehow transformed

into proper extrinsic analysis by their placement under the heading of a literary

element.

      For all these reasons, Bean’s exclusion was not an abuse of discretion.

      3.     Bean’s Opinions Would Not Have Created a Genuine Dispute of
             Fact Regardless.

      Even if Bean’s testimony had been admitted, that would not have created a

genuine dispute of material fact. Nothing in Bean’s report could change the reality

that the works are not substantially similar. What Appellants really value from

Bean is his unsupported conclusions of similarity—conclusions no court would be

required to accept.

      It is well established that “the existence of dueling expert reports does not

necessarily present a triable issue of fact for the jury. Numerous cases have found


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in favor of defendants on the issue of substantial similarity despite the existence of

expert testimony offered by plaintiffs.” Bernal, 788 F. Supp. 2d at 1062; Gable,

727 F. Supp. at 836-37 (similar); Gray, 28 F.4th at 97-103 (affirming judgment as

a matter of law for defendant on substantial similarity upon finding that overlap in

works was unprotectable, notwithstanding dueling experts).15 Bean’s invented

similarities—often of unprotectable elements—would not give rise to genuine or

material disputes, just because they are funneled through an “expert.” Bean’s

report not only fails Rule 702, but adds nothing of substance to Appellants’ case.

C.    The Court Did Not Err by Considering the Testimony of PPC’s Naval
      Aviation Expert.

      The court properly admitted the testimony of Andrew Craig, an industry

expert and Commanding Officer in the Navy Reserve. 1-ER-7. Craig has nearly

15 years of experience at Top Gun as both a student and an instructor. 4-SER-887–

89. Far from being a “conduit for hearsay,” Br. 58, Craig based his opinions on a



15
  See also, e.g., Jones v. Twentieth Century Studios, Inc., 2023 WL 9051282, at
*3, *11-12 (C.D. Cal. Nov. 28, 2023) (granting summary judgment for defendants
on substantial similarity despite finding plaintiff’s substantial similarity expert
admissible); Funky Films, Inc. v. Time Warner Ent. Co., No. 8:03-cv-964-CJC-
PLA, slip op. at 5-14 (C.D. Cal. Feb. 19, 2004), ECF No. 83 (granting summary
judgment for defendant and finding it “unnecessary” to rely on competing expert
reports and “instead bas[ing] its decision on its own independent review and
careful evaluation of [the works]”), aff’d, 462 F.3d 1072 (9th Cir. 2006); Brown
Bag Software v. Symantec Corp., 960 F.2d 1465, 1472-77 (9th Cir. 1992)
(affirming summary judgment for defendants on substantial similarity despite
considering plaintiff’s expert affidavit); Narell, 872 F.2d at 913 (same).


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combination of his own lived experience, what he learned from other Top Gun

pilots over the years, and historical knowledge he developed through research in

the Navy Archives and viewing photographs at Top Gun. E.g., 4-SER-892–94, 4-

SER-896, 4-SER-898. And as the court recognized, Rule 703 permits an expert to

rely on hearsay in forming his opinions. 1-ER-7; Carson Harbor Vill., Ltd. v.

Unocal Corp., 270 F.3d 863, 873 (9th Cir. 2001).

      Appellants also wrongly question Craig’s relevance. Br. 57. The court’s

caution—confirming the factual nature of Appellants’ proffered similarities after

Appellants protested application of the asserted truths doctrine, 2-ER-62—was not

legal error. To the contrary, the court was required to “carefully examine whether

the alleged copying or similarities are based on protectable elements of the

copyrighted work,” Corbello, 974 F. 3d at 975, with “facts” and “historical

elements” not protected, id at 976. Regardless, Appellants’ questioning of Craig’s

relevance serves only to confirm that his inclusion did not move the needle on

summary judgment and therefore would not warrant reversal even if erroneous.

                              VII. CONCLUSION

      For the foregoing reasons, the decision below should be affirmed.




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Dated: November 27, 2024                   Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

      1.     This brief complies with the type-volume limitation of Federal Rule of

Appellate Procedure 32(a)(7)(B) and Ninth Circuit Rule 32-1, as modified by

Ninth Circuit Rule 32-2 in light of the amicus brief submitted in support of

Plaintiffs-Appellants, because it contains 15,400 words, counted using the

Microsoft Word program used to prepare it.

      2.     This brief complies with the typeface and type style requirements of

Federal Rule of Appellate Procedure 32(a)(5)-(6). It is double-spaced, except for

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Dated: November 27, 2024                                /s/ Molly M. Lens
                                                          Molly M. Lens




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